Opinion issued August 22, 2024




                                      In The

                               Court of Appeals
                                      For The

                          First District of Texas
                             ————————————
                               NO. 01-24-00341-CV
                            ———————————
                   IWC OIL &amp; REFINERY, LLC, Appellant
                                         V.
             TYR ENERGY LOGISTICS, LLC ET. AL, Appellees


                    On Appeal from the 151st District Court
                             Harris County, Texas
                       Trial Court Case No. 2021-84351


                          MEMORANDUM OPINION

      Appellant, IWC Oil &amp; Refinery, LLC, has not paid or made arrangements to

pay the fee for preparing the clerk’s record. See TEX. R. APP. P. 20.1 (listing

requirements for establishing indigence); TEX. R. APP. P. 37.3(b) (allowing dismissal

of appeal if no clerk’s record filed due to appellant’s fault). Notice issued on July
15, 2024, advising appellant that this appeal was subject to dismissal, and requesting

appellant’s response by August 14, 2024. Appellant did not respond. See TEX. R.

APP. P. 42.3(b) (allowing involuntary dismissal).

      We dismiss the appeal for want of prosecution. See TEX. R. APP. P. 42.3,

43.2(f). We dismiss all pending motions as moot.

                                  PER CURIAM
Panel consists of Justices Kelly, Landau, and Rivas-Molloy.




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